Case 1:09-cV-00597-LI\/|B-TCB Document 38-1 Filed 10/23/09 Page 1 of 6 Page|D# 548

EXHIBIT l

Case 1:09-cV-00597-LI\/|B-TCB Document 38-1 Filed 10/23/09 Page 2 of 6 Page|D# 549

IN THE UNITEI) STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRG[NIA
Alexandria Division

lntersections Inc. and Net Enforcers, lnc.,

Plaimiffs, civil Action NO. 1;09cv597 (LMB/TCB)
V.

Joseph C. Loomis and lenni M. Loomis,

Dei`endants.

 

 

DECLARATION OF MICHELLE J. DICK_|NSON

l, Michelle J. Dickinson, Esquire, hereby declare:

l. l arn a partner with the law firm of DLA Piper LLP (US) in Baltimore, Maryland.
l have been practicing law with DLA Piper since 1998. l am the lead litigation attorney handling
discovery in the above-referenced litigation on behalf of Plaintit`fs lntersections lnc.
(“lntersections”) and Net Eni`orcers, Inc. (“NEI”).

2. ()n August 4, 2009, Intersections served upon Defendants its First Requests for
Production oi`Documents (“Document Request.s”). See Exhs. A and B.

3. On or about August 19, 2009, I Spoke with Det`endants“ then-counsel, Will Olson
of Bryan Cave. LLP regarding discovery responses We agreed to extend the deadline for
producing documents in light of the parties’ ongoing efforts to establish reasonable search terms
and the expectation that Intersections and NEI would have to review a large volume of electronic
documents We also agreed to produce documents on a rolling basis See Exh. C.

4. On August 24, 2009, Defendants served Objections and Responses to the
Docurnent Requests. See Exhs. D and E.

5. Bryan Cave, LLP, Det`endants’ counsel, withdrew their appearance shortly

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Case 1:09-cV-00597-LI\/|B-TCB Document 38-1 Filed 10/23/09 Page 3 of 6 Page|D# 550

thereafter and current counsel, Hunter, Humphrey & Yavitz, PLC, entered their appearance
Dunlap, Grubb & Weaver, PC also entered their appearance as local counsel but have not been
involved in the discovery issues in this case.

6. Beginning on September 18, 2009, Intersections and NEI produced documents on
a rolling basis, as per the parties’ agreement Specit`ically, Intersections and NEI produced 3,745
documents on September 18, 2009; 9,706 documents on September 25, 2009; 1,142 documents
on October 2, 2009; 1,227 documents on October 9, 2009, and 3,028 documents on October 16,
2009.

7. By email dated September 16, 2009, l asked Defendants’ counsel when they
would begin producing documentsl See Exh. F. Det`endants’ counsel did not respond. However,
Defendants’ counsel did advise in an email the next day, September 17, 2009. that Loomis had
given them DVDs containing documents that they would produce “in the course of discovery."`
Id., Exh. G.

8. By entail dated October l, 2009, l again inquired as to when Defendants expected
to produce documents See Exh. H. Defendants’ counsel did not respond

9. By email dated October 5, 2009, I attempted to arrange a telephonic conference
pursuant to Local Civil Rule 37(E) to discuss, among other discovery issues, Defendants’ failure
to produce any documents in response to the Document Requests. See Exh. l.

IO. The next day, on October 6, 2009, Defendants’ counsel responded that “Joe
[Loornis] has been working with a vendor in Canada on the document conversions, but they are
having a problem with his Outlook files" and suggested that lntersections accept Loomis’
documents in native format, as opposed to the format required by the Court approved Discovery

Plan and that lntersections’ counsel propose a plan for document control. See Exh. J.

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Case 1:09-cv-OO597-L|\/|B-TCB Document 38-1 Filed 10/23/09 Page 4 of 6 Page|D# 551

Defendants’ counsel provided no information regarding the status of l\/Is. Loomis’ document
production Id.

ll. In response, on the same day, I expressed my continued concern that, among other
things, no documents had been produced by either Defendant and that no reason had been
offered as to why Ms. Loomis had not produced any documents See Exh. K. l thus again
requested a telephonic conference with Defendants’ counsel regarding this issue. Id.

12. Defendants’ counsel refused to participate in such a conference until she had
finished responding to the outstanding discovery issues in writing, but offered to reserve time on
the afternoon of October 8, 2009 to discuss any remaining issues See Exh. L.

13. Defendants’ counsel`s written responses did not resolve the issue of Defendants’
failure to produce any documents Accordingly, we held a telephonic conference on Thursday,
October 8, 2009 to address several outstanding discovery issues, including Defendants’ failure to
produce documents in response to the Document Requests, which had been served two months
earlier. During that conversation, Defendants’ counsel indicated that it was "reasonable [for
lntersections` counsel] to expect"` to receive all of Defendants’ documents in response to the
Document Requests by October 13, 2009. See Exh. l\/l. Accordingly, we did not file a motion to
compel

14. Defendants, however, did not produce any documents By email dated October
14, 2009, I again inquired as to when Defendants would produce documents See Exh. N,

15. By e-mail response that evening, Defendants’ counsel indicated that she was “told
that [she] should have the disks in [her] office by Friday [October 16].” See Exh. O.

I6. By email that same day, l advised that if Defendants did not produce the

documents by Monday, October l9, 2009, Intersections would seek the assistance of the Court.

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Case 1:09-cv-OO597-L|\/|B-TCB Document 38-1 Filed 10/23/09 Page 5 of 6 Page|D# 552

See Exh. P.

l7. lntersections finally received documents from Defendants’ counsel on l\/londay,
October l9. 2009. See Exh. Q. Upon analysis of the electronic files, we determined that
Defendants had not produced a load file containing the proper metadata. Specifically, the load
file did not include a "beg doc” field or an “extracted text" field. Without the "extracted text”
tield, Intersections could not search the documents Defendants also did not provide a link
between the native files and their corresponding production bates numbers such that there is no
easy way to determine which native file corresponds to a particular tiffimage. Further, the letter
enclosing the disks did not indicate whether the production included documents from both
Defendants or just Loomis.

18. Accordingl),/1 by letter dated October 21, 2009 and sent by email, l requested
confirmation that the documents produced included documents collected from l\/ls. Loomis and
requested that the parties confer pursuant to Local Civil Rule 37(E) regarding the missing
metadata on the load files See Exh. R. Defendants’ counsel did not respond. l thus sent an
email providing the time for a telephonic conference for the next day. See Exh. S.

19. 'fhe next day, on October 22, 2009, l called Defendants’ counsel at the dedicated
time. During that conference, Defendants’ counsel indicated that she had learned from Loomis
that the document production only included his documents and that Ms Looinis had not
produced any documents at all. When asked why Ms. Loomis had not produced any documents
Defendants’ counsel indicated that Loomis told her that Ms. Looinis had misunderstood her
discovery obligations as explained to them by her brother. l respectfully suggested that
Defendants’ counsel should be involved in the document collection, review, and production

process at which time Defendants’ counsel hung up on me.

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Case 1:09-cv-OO597-L|\/|B-TCB Document 38-1 Filed 10/23/09 Page 6 of 6 Page|D# 553

20. l then Sent a letter by email to Defendants’ counsel indicating our need to
continue the meet and confer in order to discuss the deficiencies in Loomis' document production
and offering to be available for a call that afternoon to discuss See Exh. T.

2]. Defendants’ counsel advised by email that afternoon that Loomis had ovemighted
the proper load file to them. See Exh. U. Defendants’ counsel did not respond, however, when l
requested that they overnight the load file to me for Saturday delivery See Exh. V.

22. Discovery in this case ends on December ll. 2009. Depositions begin next week_
lf Defendants do not produce their documents or a proper load file immediately, lntersections
will be entirely precluded from using their production in any meaningful way. As such,
lntersections immediately needs all of the non-privileged, responsive documents that Ms
Loomis possesses in the format required by the Discovery Order and a proper load file for
Loomis’ documents

l declare under penalty of perjury under the laws of the State of Virginia and the United
States that the foregoing is true and correct and that this document is executed on October 23,

attained uaw

Michelle J. Dickinson

2009 in Baltimore, Maryland.

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